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            Case 3:17-cr-00112-L         Document 72         Filed 08/29/17         Pager-------------~·-·
                                                                                         1 of 1 PageID 133
                                     IN THE UNITED STATES DISTRICT COURT                            U.S. DISTIU C '11 •!
                                     FOR THE NORTHERN DISTRICT OF TEXAS                        'NORTHERN D!STRTCT Of l LA.~'I.


                                                                                                           FGJ~"~:,-l
                                               DALLAS DIVISION

 UNITED STATES OF AMERICA                                    §
                                                                                                           J   L .. ' .._,. '   i
                                                             §
 v.                                                          §   CASEN0.:3:17-CR-          ll2~L                          _j
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 SALVADOR HERRERA ONTIVEROS (2)                              §
                                                                                                            Dcp:1ty                 -
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                                        REPORT AND RECOMMENDATION
                                         CONCERNING PLEA OF GUILTY

         SALVADOR HERRERA ONTIVEROS, by consent, under authority ofUnited States v. Dees, 125 F.3d 261 (5th
Cir. 1997),     has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count(s) Three
of the Indictment After cautioning and examining SALVADOR HERRERA ONTIVEROS under oath concerning each of
the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense( s)
charged is supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that SALVADOR HERRERA ONTIVEROS be adjudged guilty of 21
U.S.C. § 841(a)(l) and (b)(l)(C), namely, Possession of a Controlled Substance (methamphetamine, a Schedule II controlled
substance) with Intent to Distribute that Controlled Substance and have sentence imposed accordingly. After being found
gui~of the offense by the district judge,


rJ/     The defendant is currently in custody and should be ordered to remain in custody.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the community
        if released.

        0       The Government does not oppose release.
        0       The defendant has been compliant with the current conditions of release.
        0       I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other
                person or the community if released and should therefore be released under§ 3142(b) or (c).

        0       The Government opposes release.
        0       The defendant has not been compliant with the conditions of release.
        0       If the Court accepts this recommendation, this matter should be set for hearing upon motion of the
                Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
        under§ 3145(c) why the defendant should not       de 'ned, and     Court finds    cle and convincing evidence
        that the defendant is not likely to flee or pose dange to a oth person o t e ommu ity if released.

Date:   29th day of August, 201 7




Failure to file written objections to this Report and Recommendation WI hin fourt                  date of its service
shall bar an aggrieved party from attacking such Report and Recommendation before the assigned Umted States District
Judge. 28 U.S.C. §636(b)(l)(B).
